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                                                                   United States Bankruptcy Court
                                                                          Northern District of New York
  In re          Mark William Freitas                                                                                 Case No.      04-66778
                                                                                                            ,
                                                                                             Debtor
                                                                                                                      Chapter                     7




                                                         SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES               OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                     0.00


B - Personal Property                                              Yes                3                 7,994.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                           2,300.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                               0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                1                                          86,825.66
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                    1,710.00
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                    2,350.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            12


                                                                              Total Assets              7,994.00


                                                                                               Total Liabilities                 89,125.66




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 Form B6F
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   In re          Mark William Freitas                                                                                            Case No.      04-66778
                                                                                                                         ,
                                                                                                      Debtor


                                                                       AMENDED
                SCHEDULE           F.  CREDITORS              HOLDING             UNSECURED NONPRIORITY CLAIMS
        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                           O                                                                  O   N   I
                 AND MAILING ADDRESS                                           D   H                                                              N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
                                                                                                                                                              AMOUNT OF CLAIM
                                                                               T   J                                                              N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                                  E   D   D
                                                                                                                                                  N   A
Account No.                                                                            Insurance company for Richard and Lynn                     T   T
                                                                                                                                                      E
                                                                                       Creedon                                                        D

Graphic Arts Mutual Insurance Co
c/o Thomas J. Riordan                                                              -
180 Genesee Street
New Hartford, NY 13413
                                                                                                                                                                            11,075.00
Account No.                                                                            Same claim as Graphic Mutual Insurance Co

Richard and Lynn Creedon
12 Kingsley Court                                                                  -
Whitesboro, NY 13492

                                                                                                                                                                                   0.00
Account No.




Account No.




                                                                                                                                                Subtotal
 0
_____ continuation sheets attached                                                                                                                                          11,075.00
                                                                                                                                      (Total of this page)
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                                                                                                                        (Report on Summary of Schedules)                    11,075.00


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                                                                  United States Bankruptcy Court
                                                                         Northern District of New York
 In re       Mark William Freitas                                                                                       Case No.   04-66778
                                                                                             Debtor(s)                  Chapter    7




                           DECLARATION CONCERNING DEBTOR'S SCHEDULES - AMENDED

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                13  sheets [total shown on summary page plus 1], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date July 13, 2005                                                             Signature    /s/ Mark William Freitas
                                                                                             Mark William Freitas
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF NEW YORK


 In re        Mark William Freitas                                                                          ,


                                                                   Debtor                                   Case No.   04-66778

                                                                      Chapter                                          7
 Social Security No(s). and all Employer's Tax Identification No(s). [if any]
 xxx-xx-3787


                                           CERTIFICATION OF MAILING MATRIX - AMENDED



             I,(we),       David J. Gruenewald               , the attorney for the debtor/petitioner (or, if appropriate, the debtor(s) or

petitioner(s)) hereby certify under the penalties of perjury that the above/attached mailing matrix has been

compared to and contains the names, addresses and zip codes of all persons and entities, as they appear on the

schedules of liabilities/list of creditors/list of equity security holders, or any amendment thereto filed herewith.



 Dated:          July 13, 2005
                                                                                             /s/ David J. Gruenewald
                                                                                             David J. Gruenewald
                                                                                             Attorney for Debtor/Petitioner
                                                                                             (Debtor(s)/Petitioner(s))




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